Case 3:11-md-02244-K Document 1055 Filed 09/24/19 Pageiofi1 PagelD 41344

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

IN RE DEPUY ORTHOPAEDICS, INC.,
PINNACLE HIP IMPLANT PRODUCTS

LIABILITY LITIGATION

 

THIS DOCUMENT RELATES TO:

MDL Master Docket No.
3:11-MD-2244-K

JUDGE ED KINKEADE

Manuel Davis v. DePuy Orthopaedics, Inc. et al.,

Case No. 3:15-cv-02791-K

STIPULATION OF DISMISSAL WITH PREJUDICE

IT IS HEREBY STIPULATED AND AGREED, by and between the parties, through their

undersigned counsel, that pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff hereby dismisses all

claims asserted against Defendants, DePuy Orthopaedics, Inc., Johnson & Johnson, and Johnson

& Johnson Services, Inc., (collectively, “Defendants”), with prejudice. Each party shall bear its

own costs, expenses, and fees.

BARNES & THORNBURG LLP

By: /s/ Terri L. Bruksch
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MDL Liaison Counsel for Defendants
Dated: September 23, 2019

  

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Dated: September 2019
